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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                               COLUMBUS DIVISION

UNITED STATES OF AMERICA                  :
                                          :
       vs.                                : CASE NO. 4:22-CR-028-CDL
                                          :
GEORGE IAKOVOU,                           :
                                          :
              Defendant.                  :
                                          :

                              NOTICE OF DNA TESTING

       Under 18 U.S.C. § 3600, any defendant who is serving a federal sentence can make

a motion to the Court to have DNA testing done on any biological evidence in his/her

case. In order to make such a motion, the defendant must state under penalty of perjury

that he/she is not guilty, and then request that DNA testing be done on any biological

evidence. Biological evidence is blood, hair, semen, saliva, skin tissue or other identified

biological material.

       If, after conviction, you request such a test, you must state, under penalty of

perjury, that you are actually innocent. If DNA testing is performed based on your motion

and the result shows that you are in fact guilty, then the government could petition the

Court to have you held in contempt of court and ordered to pay the cost of the test or

have your “good time” taken away by the prison system, or prosecuted for false

assertions. If convicted of false assertions, the sentence is not less than three (3) years

imprisonment which must follow the sentence that you are presently serving.
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       If you believe that there is biological evidence in your case which could be subject

to DNA testing, you should discuss with your attorney and determine whether or not

you wish to request such testing prior to trial.

       Respectfully submitted, this 8th day of December 2022

                                          PETER D. LEARY
                                          UNITED STATES ATTORNEY

                                   By:    /s/ Chris Williams
                                          CHRISTOPHER WILLIAMS
                                          Assistant United States Attorney
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                             CERTIFICATE OF SERVICE

      I, Chris Williams, Assistant United States Attorney, hereby certify that on

December 8, 2022, I electronically filed the within and foregoing Notice of DNA Testing

with the Clerk of the Court using the CM/ECF system which will send notification to the

Court and all counsel of record.

      This 8th day of December 2022.

                                         PETER D. LEARY
                                         UNITED STATES ATTORNEY

                                   By:   /s/ Chris Williams
                                         CHRISTOPHER WILLIAMS
                                         Assistant United States Attorney
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